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                      IN THE UNITED STATES DISTRICT COURT

                  FOR THE EASTERN DISTRICT OF PT]NNSYLVANIA

UNITEDSTATESOFAMERICA                        :      CRIMINALNO.20.
                                                    DATE FILED: November 25, 2020

\YILLI.\}I T. MCC,\). I)LESS                        VIOL.{TIONS:
                                                    l8 U.S.C. S0 2260(b), (c)(2) (possession of
                                                    child pornography for importation into the
                                                    UnitedStates-lcount)
                                                    l8 U.S.C. SS 2252(aXl), (b)(l ) transportation
                                                    of child pornography- - I count)
                                                    l8 U.S.C. SS 2252(aXa)(B), (bX2) (attempted
                                                    access n ith intent to vieu child pornographl'
                                                    - I count)
                                                    Notice of forfeiture

                                         INDICTMENT

                                         CoUNT O\E

THE GRAND JURY CHARGES THAT:

               On or about January 25. 2017. in Philadelphia Countl', in the Eastern District of

Pennsylvania. and elsewhere, defendant

                               WILLIA\{ T. }ICCANDLESS,

outside the United States, knowingly' transported or possessed u'ith intent to transport. a visual

depiction of a minor engaging in sexually explicit conduct, rhe production of w'hich involved the

use ofa minor engaging in sexualll' erplicit conduct. intending that the visual depiction would be


imponed into the United Srares. that is. the Eastem District ofPennsylvania. and attempted to do

so.

               In violation of Title 18, United States Code, Sections 2260(b), (cX2), and
2252(b)(l )
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                                           C0LiNT TWO

THE GRAND JURY FURTHER CHARCES THAT:

               On or about January' 26. 2017. in Philadelphia County, in the Eastem District of

Pennsl'lvania. and elsew'here. defendant

                                 }VILLIAM T. MCCANDLESS

knor*'ingll transported and shipped. and attempted lo lransport and ship. a visual depiction, using

any means and facility of interstate and tbreign commerce. and in and atTecting interstate and

foreign commerce by any means. including bl computer. the producing ofu'hich visual depiction

involved the use ofa minor engaged in sexualll explicit conduct, and which visual depiction was

of such conduct.

               In violation of Title 18. United States Code. Section 2252(aX I ), (bX I ).




                                                  2
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                                        COUNT THREE

THE GRAND.IURY FURTHER CHARGES THAT

               In or about April 2017. in Lehigh Counr1,. in the Eastern District of Pennsylvania

and elsewhere, defendant

                                 WILLIAM T. MCCANDLESS

knowingly accessed \tr'ith intent to vieu', and attempted to access with intent to view, at least one

matter which contained a visual depiction that had been shipped and transported using any means

and facilitl' of interstate and loreign commerce, and in and affecting interstate and tbreign

commerce, and which w'as produced using materials which had been mailed and shipped and

transported in and affecting interstate and foreign commerce. by an1'means including b.vcomputer,

and the production of such visual depiction involved the use of a minor engaging in sexually

explicit conduct and the visual depiction was ofsuch conduct.

               In violation of Title I 8 United States Code, Section 2252(a)(4XB). (bX2).
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                                    NOTICE OF FORFETTURE

THE GRAND JUR}' FURTHER CHARGES THAT:

                 As a result ofthe violations of 'I'itle 18, United States Codc, Sections 2260(b) and

2252, as set forth in this lndictment. defendant

                                   WILLIAM T. MCCANDLESS

shall forfeit to the United States of America:

        (a)      any item which contains any child pomography rvhich was produced, transported.

mailed. shipped, or received as a result ofsuch violations as charged in the indictment;

        (b)      any property, real or personal. constituting or derived f'rom any proceeds obtained

directly or indirectly tiom such violations: and

        (c)      any property, real or personal. used or intended to be used to commit or to facilitate

the commission of such violations, including. but not limited to:

                 (l )    an Apple iPhone 5 bearing serial number FYI(TR l8LHG6W:

                 (2)     a HP ProBook laptop bearing serial number 5CG6l96XJF: and

                 (3)     a Dell Latitude laptop bearing serial number HHR308l.

                 lfany oithe property subject to fbrfeiture, as a result ofany act or omission ofthe

defendant:

        (a)      cannot be located upon the exercise oldue diligence:

        (b)      has been transferred or sold to. or deposited with. a third parry:

        (c)      has been placed beyond thejurisdiction ofthe Court:

        (d)      has been substantially diminished in value; or

        (e)      has been commingled rvith other propert) lr'hich cannot be divided rvithout

                 difficulty:
                                                   4
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it is the intent of the United States, pursuant to Title 18, United States Code, Section 2253(b),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture ofany other property

ofthe defendant up to the value ofthe property subject to forfeiture.

                 All pursuant to Title 18, United States Code, Section 2253.


                                                      A TRUE BILL:




                                              url' GRAND JURY FOREPERSON



v              Nt.       AIN
    United States Attorney
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            No. 20-

                            UNITED STATES DISTRICT COURT

                                 Eastern Distriot of Pennsylvan ia


                                         Criminal Division

                            THE UNITED STATES OF AMERICA

                                                   vs,

                                   WILLIAM T. MCCANDLESS

                                             INDIC'I'MENT

        l8 U.S.C. SS 2260(b), (c)(2) (possession of child pornography for impo(ation into the
                                         UnitedStates-lcount)
            I 8 U.S.C. SS 2252(a)( I ), (b)( I ) transportation of child pornography - I count)
l8 U.S.C. SS 2252(a)(aXB), (b)(2) (attempted access with intent to view child pornography - I count)
                                         Notice of forfeiture




              Filed in open court this                                        day,
                      of                                 A.D. 20

                                                Clerk

                                  Bail. $
